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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                             Chapter 11

    OLD LC, INC., et al.,1                                             Case No. 19-11791 (BLS)

                                      Debtors.                         Jointly Administered


    Official Committee of Unsecured Creditors of Old                   Adv. No. 20-51002 (BLS)
    LC, Inc., et al., for and on behalf of the estates of
    Old LC, Inc., et al.;
                                                                       Hearing Date: Aug. 31, 2021 at 10:00 a.m. (ET)
                                      Plaintiff,                       Ref. Adv. Docket No. 35
    v.

    Upfront V, LP, Breakwater Credit Opportunities
    Fund, L.P.; Upfront GP V, LLC; Mark Suster;
    Dana Kibler; Gregory Bettinelli; Saif Mansour;
    Aamir Amdani; Eric Beckman; Darrick Geant; and
    Joseph Kaczorowski

NOTICE OF HEARING REGARDING MOTION OF UPFRONT V, L.P., UPFRONT GP
V, LLC, MARK SUSTER, DANA KIBLER AND GREGORY BETTINELLI TO DISMISS
 FIRST AMENDED COMPLAINT AND OBJECTION TO CLAIMS AND MOTION TO
             STRIKE PRAYER FOR COMPENSATORY DAMAGES


                  PLEASE TAKE NOTICE that the hearing with respect to the Court’s ruling on

the Motion of Upfront V, L.P., Upfront GP V, LLC, Mark Suster, Dana Kibler and Gregory

Bettinelli to Dismiss First Amended Complaint and Objection to Claims and Motion to Strike

Prayer For Compensatory Damages [Adv. Docket No. 35] (the “Motion to Dismiss”) will be held

on August 31, 2021, at 10:00 a.m. (Prevailing Eastern Time) via Zoom videoconference before

the Honorable Brendan L. Shannon, United States Bankruptcy Court Judge, at the United States


1
   The Debtors are the following four entities (the last four digits of their respective taxpayer identification numbers,
if any, follow in parentheses): Old LC, Inc. (7119), Old LC Holdings, Inc., Old LCF, Inc. and Old LC Parent, Inc.
The Debtors’ noticing address in these Chapter 11 cases is 3401 Pasadena Ave, Los Angeles, CA 90031.



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Bankruptcy Court for the District of Delaware, 824 North Market Street, Sixth Floor, Courtroom

No. 1, Wilmington, Delaware 19801.

                 PLEASE TAKE FURTHER NOTICE that to participate you must register for

the Zoom call. When registering, please copy and paste the below link to your browser. Please

remember to register with Zoom well in advance of the hearing in order to avoid being denied

access. COURTCALL WILL NOT BE USED FOR THIS HEARING.

         Topic: Official Committee of Unsecured Creditors of Old LC v. Upfront V, LLC;
                                      Adv. Pro. 20-51002
                 When: Aug 31, 2021 10:00 AM Eastern Time (US and Canada)

                             Register in advance for this meeting:
https://debuscourts.zoomgov.com/meeting/register/vJItcO6vpzsqGhjq77gd-tPfSaXgNHYLgO0

                 After registering, you will receive a confirmation email containing information

about joining the meeting.

 Dated: August 27, 2021                     PACHULSKI STANG ZIEHL & JONES LLP

                                            /s/ Colin R. Robinson
                                           Dean A. Ziehl (NY Bar No. 4133971)
                                           James K.T. Hunter (CA Bar No. 73369)
                                           Colin R. Robinson (DE Bar No. 5524)
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                                           Counsel to the Upfront Defendants




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